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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2797
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S 2:10-0455 JAM
                                  )      2:11-0134 JAM
12                                )
                      Plaintiff, ) STIPULATION AND ORDER
13                                ) SETTING CHANGE OF PLEA HEARING
                  v.              ) AND EXCLUDING TIME UNDER
14                                ) THE SPEEDY TRIAL ACT
                                  )
15   CAESAR RAFAEL TORRES,        )
                                  )
16                    Defendant. )
     _____________________________)
17
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and Michael M. Beckwith, Assistant United States
21   Attorney, and defendant Caesar Rafael Torres, through his counsel of
22   record, Christopher Cosca, Esq., hereby stipulate and agree that the
23   status conference set for April 9, 2013, at 9:45 a.m., be continued
24   and set for a change of plea to April 16, 2013, 2013, at 9:45 a.m.
25        The exclusion of time is appropriate due to the counsels’ need
26   to prepare.   18 U.S.C. § 3161(h)(8)(B)(ii) and (iv); Local Code T4.
27   A continuance is necessary in this case in order to ensure defense
28   counsel has a reasonable amount of time to review the evidence given

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 1   the limitations imposed by Congress.         It’s also necessary to ensure
 2   defense counsel’s effective preparation, taking into account the
 3   exercise of due diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local
 4   Code T4.
 5        Therefore, the parties have agreed and respectfully request
 6   that the Court set the date of April 16, 2013, at 9:45 a.m., for the
 7   status conference.
 8        Accordingly, the parties stipulate that time be excluded
 9   beginning April 9, 2013, through and including April 16, 2013,
10   pursuant to 18 U.S.C. § 3161(h)(1)(F) and Local Code T4, United
11   States Code section 3161(h)(7)(B)(iv), to give the defendant time to
12   adequately prepare.
13        The Court finds that the interests of justice served by
14   granting this continuance outweigh the best interests of the public
15   and the defendant in a speedy trial.         18 U.S.C. § 3161(h)(7)(A).
16
17   IT IS SO STIPULATED.
18                                          Benjamin B. Wagner
                                            United States Attorney
19
20   Dated: April 3, 2013             By:       /s/ Michael M. Beckwith
                                                MICHAEL M. BECKWITH
21                                              Assistant U.S. Attorney
                                                Attorney for Plaintiff
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23
     DATED: April 3, 2013             By:       /s/ Christopher Cosca
24                                              CHRISTOPHER COSCA
                                                Attorney for Defendant
25                                              CAESAR RAFAEL TORRES
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 1                                     ORDER
 2        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3   hereby ordered that this matter be set for change of plea as set
 4   forth above.   The Court finds that the interests of justice served
 5   by granting this continuance outweigh the best interests of the
 6   public and the defendant in a speedy trial.       18 U.S.C.
 7   §3161(h)(7)(A).
 8        The Court finds excludable time as set forth above to and
 9   including April 16, 2013.
10
11        IT IS SO ORDERED.
12   DATED: 4/3/2013                     /s/ John A. Mendez
                                      __________________________________
13                                       HONORABLE JOHN A. MENDEZ
                                         UNITED STATES DISTRICT COURT JUDGE
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